Case: 3:19-cv-01007-wmc Document #: 222-3 Filed: 11/24/21 Page1of1

United States Court of Appeals

For the Seventh Circuit
Chicago, Illinois 60604

November 16, 2021

Before

DIANE S. SYKES, Chief Judge

JOEL M. FLAUM, Circuit Judge

ILANA DIAMOND ROVNER, Circuit Judge

No. 20-3325

DRIFTLESS AREA LAND CONSERVANCY
and WISCONSIN WILDLIFE FEDERATION,
Plaintiffs-Appellees,

REBECCA VALCQ and TYLER HUEBNER,

in their official capacities as members of

the Public Service Commission of Wisconsin,
Defendants-Appellants,

and

AMERICAN TRANSMISSION COMPANY LLC, et al.,

Intervenor Defendants-Appellants.

ORDER

Appeal from the United States
District Court for the Western

District of Wisconsin.

No. 19-cv-1007

William M. Conley,
Judge

On consideration of the petition for rehearing, all judges voted to deny

rehearing. It is therefore ordered that the petition for panel rehearing is DENIED

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